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                        IN THE UNITED STATES DISTRICT COURT
  9
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 10
                                         CIVIL DIVISION
 11
 12
 13   JAMES MILLER, et al.,                        Case No. 3:22-cv-01446-BEN-JLB
 14                                     Plaintiffs, ORDER
 15                                             v.
                                                    Action Filed:      September 26, 2022
 16
      ROB BONTA, et al.,                           Judgment Entered: March 20, 2023
 17
                                   Defendants.
 18
 19
 20        Plaintiffs, Defendants, and Intervenor-Defendant have now reached an
 21   agreement regarding costs and fees, and jointly request that the Court enter the
 22   accompanying proposed order effectuating the agreement. Defendants and
 23   Intervenor-Defendant have approved a settlement of fees and costs for both Miller
 24   v. Bonta (Case No. 3:22-cv-1446) and South Bay Rod & Gun Club, Inc. v. Bonta
 25   (Case No. 3:22-cv-1461). Defendants, Intervenor-Defendant, and Plaintiffs agree
 26   that a total of $556,957.66, divided among Plaintiffs’ counsel as described below, is
 27   a reasonable recovery for Plaintiffs’ attorney’s fees in these matters. The parties
 28   agree and stipulate as follows:
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  1        1.    Defendants shall pay Plaintiffs’ counsel the sum of $556,957.66, divided
  2   as follows:
  3                 a. the sum of $196,168.28 to Benbrook Law Group, PC;
  4                 b. the sum of $97,789.38 to Cooper & Kirk, PLLC;
  5                 c. the sum of $204,000.00 to Michel & Associates, PC; and
  6                 d. the sum of $59,000.00 to the Law Offices of Donald Kilmer, PC.
  7         2. This payment will completely satisfy Defendants’ and Intervenor-
  8   Defendant’s obligation to pay costs and fees in Miller v. Bonta (Case No. 3:22-cv-
  9   1446) and South Bay Rod & Gun Club, Inc. v. Bonta (Case No. 3:22-cv-1461);
 10   Plaintiffs will not be entitled to interest if payment is made by September 30, 2023.
 11         3. This payment is contingent upon certification of availability of funds, the
 12   approval of the Director of the Department of Finance, and is subject to
 13   appropriation by the Legislature.
 14         4. Defendants will keep Plaintiffs apprised of the progress of the bill, and to
 15   act in good faith to facilitate its enactment as soon as practicable.
 16         5.   If Defendants fail to pay the agreed upon amount by September 30,
 17   2023, Plaintiffs retain the right to seek fees, costs, and interest by noticed motion
 18   seeking more than the agreed-upon amount, and the Court retains jurisdiction to
 19   decide such a motion. In such event, Defendants will not oppose the request for the
 20   amounts set out above, and Plaintiffs will not need to submit an affidavit or other
 21   evidence to the Court in support of an award for the costs and fees described in
 22   paragraph 1, as would otherwise be required.
 23        IT IS SO ORDERED.
 24   DATE June 5, 2023
                                                 Hon. Roger T. Benitez
 25                                              U.S. District Judge
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